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                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA

                                                                    CASE NUMBER:


   SILVERLAKE PARK, LLC                                               2:17−cv−03291−CAS−AGR
                                                    Plaintiff(s),

            v.
   STEWART TITLE GUARANTY COMPANY, et al.
                                                                      NOTICE TO FILER OF DEFICIENCIES IN
                                                  Defendant(s).       ELECTRONICALLY FILED DOCUMENTS




   PLEASE TAKE NOTICE:

   The following problem(s) have been found with your electronically filed document:

   Date Filed:         11/21/2017
   Document Number(s):                 56
   Title of Document(s): Stipulation to Extend Time to Respond to Initial Third Party
   Complaint By Not More Than 30 Days
   ERROR(S) WITH DOCUMENT:

   Proposed Order not submitted herewith. Stipulations for extension of time as to cross−claims, counterclaims,
   third−party complaints or any amended or supplemental pleadings require approval by the judge, Local Rule
   8−3.




   Other:

   Note: In response to this notice, the Court may: 1) order an amended or corrected document to be filed; 2) order the
   document stricken; or 3) take other action as the Court deems appropriate. You need not take any action in response to this
   notice unless and until the Court directs you to do so.


                                                         Clerk, U.S. District Court

   Dated: December 18, 2017                              By: /s/ Grace Kami grace_kami@cacd.uscourts.gov
                                                            Deputy Clerk

   cc: Assigned District Judge and/or Magistrate Judge

   G−112A(10/13) NOTICE TO FILER OF DEFICIENCIES IN ELECTRONICALLY FILED DOCUMENTS
Case 2:17-cv-03291-CAS-AGR Document 62 Filed 12/18/17 Page 2 of 2 Page ID #:1037
      Please refer to the Court’s website at www.cacd.uscourts.gov for Local Rules, General Orders, and applicable forms.




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